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     Attorney at Law
2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     ANTHONY WILLIAMS
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )      CASE NO.    2:11-CR-00353 MCE
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )      WAIVER OF DEFENDANT ANTHONY
                                   )      WILLIAMS’ PRESENCE; ORDER THEREON
13   ANTHONY WILLIAMS, et. al.     )
                                   )
14                  Defendants.    )
     ______________________________)
15
16        Defendant, ANTHONY WILLIAMS, hereby waives the right to be
17   present in person in open court upon the hearing of any motion or
18   other proceeding in this cause, including, but not limited to, when
19   the case is ordered set for trial, when a continuance is ordered, and
20   when any other action is taken by the court before or after hearing,
21   except upon arraignment, plea, impanelment of jury and imposition of
22   sentence.   Defendant, ANTHONY WILLIAMS, hereby requests the court to
23   proceed during every absence of his which the court may permit
24   pursuant to this waiver; agrees that his interests will be deemed
25   represented at all times by the presence of his attorney, the same as
26   if defendant were personally present and further agrees to be present
27   in court ready for hearing any day and hour the court may fix in his
28   absence.

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1         Defendant, ANTHONY WILLIAMS, further acknowledges that he has
2    been informed of his rights under Title 18 U.S.C. §§ 3161-3171 (Speedy
3    Trial Act), and authorizes his attorney to set times and delays under
4    the Act without defendant, ANTHONY WILLIAMS, being present.
5         The original signed copy of this waiver is being preserved by
6    ANTHONY WILLIAMS’ attorney of record in this case.
7
8
     DATED: November 3, 2011
9                               by    /s/ Anthony Williams
                                      ANTHONY WILLIAMS
10                                    Defendant
11
12
     DATED: November 7, 2011
13                              by    /s/ Scott N. Cameron
                                      SCOTT N. CAMERON
14                                    Attorney for ANTHONY WILLIAMS
15
16
          IT IS SO ORDERED
17
18
     Dated: November 14, 2011
19
20                                      _____________________________
21                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
22
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                                          2
